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UNITED STATES DISTRICT COURT                                    . ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                     DOC#:
                                                                  DATE FII-.-ED_:_6_/_1if.....,t_f'_
DIALLO HAMADOU, MUHAMMAD
SHAHJAHAN, and FRANK ASIEDU, on behalf of
themselves individually, and on behalf of all others
similarly situated,                                     No. 12 Civ. 0250 (JLC)

                      Plaintiffs,

          -against-

HESS CORPORATION, HESS MART, INC.,
MAMADOU GUEYE, TOUS PHILLIP, JORGE
BALL, ABC CORPORATION, and JOHN DOES 1-3,

                       Defendants.

    FINAL ORDER AND JUDGMENT GRANTING PLAINTIFFS' MOTION FOR
   CERTIFICATION OF THE SETTLEMENT CLASS, FINAL APPROVAL OF THE
  CLASS ACTION SETTLEMENT AND THE FLSA SETTLEMENT, AND GRANTING
        PLAINTIFFS' MOTION FOR AN AWARD OF ATTORNEYS' FEES,
        REIMBURSEMENT OF EXPENSES, AND FOR SERVICE AWARDS

       WHEREAS, on February 3, 2015, the Court entered an Order (the "Preliminary Approval

Order") preliminarily approving the Joint Stipulation of Settlement and Release (the "Settlement

Agreement") 1 and authorizing dissemination of notice (the "Notice") to the Class (Dkt. No. 139);

       WHEREAS, the third-party administrator in this action, Rust Consulting, Inc., thereafter

mailed the court-approved Notice to all Class Members (Declaration of Justin M. Swartz, Esq. in

Support of Plaintiffs' Motion for Final Approval of Class Action Settlement ("Motion for Final

Approval"), dated June 2, 2015 ("Swartz Dec.") (Dkt. No. 155) ~~ 47-50);

       WHEREAS, no Class Member has opted out or objected to the Settlement (Swartz Dec.,

Exhibit B (Declaration of Stacy Roe ("Claims Admin. Dec.") ~~ 16-1 7);



        This Final Approval Order and Judgment incorporates by reference the definitions in the
Settlement Agreement, and all capitalized terms used herein shall have the same meanings as set
forth in the Settlement Agreement, unless otherwise defined.
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       WHEREAS, pursuant to the Preliminary Approval Order, Plaintiffs filed their Motion for

Final Approval on June 2, 2015 (Dkt. No. 149);

       WHEREAS, while they deny all of the allegations made by the Named Plaintiffs in the

Litigation and without admitting any liability or damages, Defendants have not opposed any of

the motions Plaintiffs have submitted in support of final approval of the settlement;

       WHEREAS, Defendants sent notices to federal and state authorities required by the Class

Action Fairness Act ("CAFA") on or about March 4, 2015 and the 90-day CAFA notice period

concluded on June 2, 2015 see 28 U.S.C. § l 715(d), Swartz Dec. iJ 37;

       WHEREAS, the Court, having consent jurisdiction over this matter pursuant to 28 U.S.C.

§ 636(c) (Dkt. No. 127), held a fairness hearing on June 17, 2015 (the "Fairness Hearing"); and

       WHEREAS, the Court has considered the Motion for Final Approval; the supporting

memorandum of law, the Swartz Declaration and the exhibits thereto, and all other papers

submitted in connection with Plaintiffs' Motion for Final Approval, oral argument presented at the

Fairness Hearing and the complete record in this matter; for the reasons set forth therein and stated

on the record at the Fairness Hearing, and for good cause shown;

       IT IS HEREBY ORDERED and ADJUDGED as follows:

Certification of the Settlement Class

       1.      The Court certifies the following class under Rule 23(e) of the Federal Rules of

Civil Procedure for settlement purposes consistent with section 1.22 of the Settlement

Agreement:

               All individuals who were employed by Hess as a Sales Associate in
               Hess gas stations located in Hess Territories 8 and/or 1O of Region
               2 in New York between January 12, 2006 and May 23, 2013.




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        2.      Plaintiffs meet all of the requirements for class certification under Rules 23(a) and

(b)(3) of the Federal Rules of Civil Procedure.

        3.      Plaintiffs satisfy Fed. R. Civ. P. 23(a)(l) because the Class includes

approximately 441 Members and thus joinder is impracticable.

        4.      Plaintiffs satisfy Fed. R. Civ. P. 23(a)(2) because the Class Members share

common issues of fact and law, including but not limited to whether Defendants failed to pay

Plaintiffs and the New York Labor Law Class wages for all of the hours they worked in violation

of state wage and hour laws.

        5.      Plaintiffs satisfy Fed. R. Civ. P. 23(a)(3) because each Class Member's claim

arises from the same course of events, as each worked for Hess as a sales associate and alleges

the same violation of the law: Defendants' failure to properly pay minimum wages and overtime

for hours worked "off-the-clock."

        6.      Plaintiffs satisfy Fed. R. Civ. P. 23(a)(4) because there is no evidence that the

Named Plaintiffs and the Class Members' interests are at odds. Plaintiffs Diallo Hamadou,

Muhammad Shahjahan, and Frank Asiedu are adequate representatives of the proposed Class,

and have fairly and adequately protected the interests of all Class Members.

        7.      In addition, Plaintiffs satisfy Fed. R. Civ. P. 23(b)(3). The record before the

Court demonstrates that common factual allegations and a common legal theory predominate

over any factual or legal variations among Class Members. Here, all members of the Class are

unified by common factual allegations - that all Class Members were not paid minimum wages

and overtime for all of the hours that they worked. The Class is also unified by a common legal

theory- that these wage and hour policies violated federal and New York state law. Moreover,

class adjudication of this case is superior to individual adjudication because it will conserve



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judicial resources and is more efficient for Class Members, particularly those who lack the

resources to bring their claims individually.

Approval of the Settlement Agreement

        8.      The Court grants the Motion for Final Approval and approves the settlement and

all terms set forth in the Settlement Agreement under Rule 23 and the Fair Labor Standards Act

("FLSA"). In doing so, the Court finds that the settlement is both procedurally and substantively

fair, reasonable, adequate, and not a product of collusion. It thus satisfies the criteria for

settlement approval under Rule 23 and the FLSA. See Fed. R. Civ. P. 23(e); Frank v. Eastman

Kodak Co., 228 F.R.D. 174, 184 (W.D.N.Y. 2005) (quoting Joel A. v. Giuliani, 218 F.3d 132,

138-39 (2d Cir. 2000)). In making these findings, the Court has evaluated the factors set forth in

City of Detroit v. Grinnell Corp., 495 F.2d 448 (2d Cir. 1974), abrogated on other grounds fil:

Goldberger v. Integrated Resources, Inc., 209 F.3d 43 (2d Cir. 2000), and determined that they

support approval of the settlement.

        9.      The $691,350.00 settlement amount is substantial and includes meaningful

payments to Class Members. In reaching this conclusion, the Court is satisfied that the

settlement was fairly and honestly negotiated. It was the result of vigorous arm's-length

negotiations, which were undertaken in good faith by counsel with significant experience in

litigating wage and hour class actions, and serious questions of law and fact exist such that the

value of an immediate recovery outweighs the mere possibility of further relief after protracted

and expensive litigation. See D' Amato v. Deutsche Bank, 236 F.3d 78, 85 (2d Cir. 2001)

(citations omitted).




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        10.    The Court also gives weight to the parties' judgment that the settlement is fair and

reasonable, as well as the Class's response to the settlement (in that there were no objections or

exclusions).

Dissemination of Notice

        11.    Pursuant to the Court's Preliminary Approval Order, the Notice was sent by first-

class mail (and via email if available) to each identified class member at his or her last known

address. (Claims Admin. Dec.~~ 9-10). The Court finds that the Notice fairly and adequately

advised Class Members of the terms of the settlement, as well as the right of Class Members to

opt out of the class, to object to the settlement, and to appear at the fairness hearing conducted on

June 17, 2015. Class Members were accordingly provided the best notice practicable under the

circumstances. The Court further finds that the Notice and distribution of such Notice

comported with all constitutional requirements, including those of due process.

Approval of Attorneys' Fees and Costs

        12.    On February 3, 2015, the Court appointed Outten & Golden LLP ("O&G"),

Fitapelli & Schaffer, LLP ("F&S"), and Xue & Associates, P.C. ("Xue"), as Class Counsel

because they met all of the requirements of Rule 23(g) of the Federal Rules of Civil Procedure.

(Preliminary Approval Order~~ 7-8).

       13.     Class Counsel did substantial work identifying, investigating, prosecuting, and

settling the Class Members' claims.

       14.     Class Counsel have significant experience prosecuting and settling wage and hour

class actions, and are well-versed in both wage and hour and class action law.




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       15.     The work that Class Counsel performed in litigating and settling this case

demonstrates their commitment to the Class and to represent the Class's interests. To this end,

Class Counsel committed substantial resources to prosecuting this case.

       16.     Class Counsel were able to use their considerable expertise in the type of claims

asserted in this action to achieve an excellent result for the Class in a highly efficient manner

without the need for extensive additional litigation.

        17.    The attorneys' fees requested in Plaintiffs' Motion for Approval of Fees and

Reimbursement of Expenses (Dkt. No. 151) were entirely contingent upon success in this

litigation. Class Counsel expended significant time and effort and advanced costs and expenses

without any guarantee of compensation.

        18.    Accordingly, the Court grants Plaintiffs' motion for attorneys' fees and

reimbursement of expenses, and awards Class Counsel 33.3% of the total settlement amount, or

$230,450.00 as attorneys' fees and costs to be paid from the Settlement Fund.

        19.    The Court finds that the amount of fees requested is fair and reasonable using the

"percentage-of-fund" method, which is consistent with the "trend in this Circuit." See McDaniel

v. Cty. of Schenectady, 595 F.3d 411, 417 (2d Cir. 2010). Given all of the circumstances of this

case, Class Counsel's request for 33.3% of the fund is reasonable and consistent with the norms

of class litigation in this Circuit. In making this finding, the Court has considered the factors set

forth in the Second Circuit's decision in Goldberger v. Integrated Res., Inc .. 209 F.3d 43, 50 (2d

Cir. 2000). Finally, the so-called "lodestar cross-check" further supports the award, given that

the hours worked by Class Counsel result in a lodestar well more than twice the award. Id.




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Approval of Service Awards

         20.   The Court grants Plaintiffs' Motion for Approval of Service Awards (Dkt. No.

153) and approves a $10,000 service award, to be paid from the Settlement Fund, for Named

Plaintiffs Diallo Hamadou, Muhammad Shahjahan, and Frank Asiedu, and $1,000 to Opt-In

Plaintiffs Michelle DeMarco, David Imperato, and Barra Khan. These service awards are

reasonable in light of the efforts these individuals expended in furthering the interests of the

Class.

         21.    Such service awards are common in class action cases and are important to

compensate plaintiffs such as those in this case for the time and effort expended in assisting the

prosecution of the litigation, the risks incurred by becoming and continuing as a litigant, and any

other burdens sustained by a plaintiff.

Conclusion

         22.    This Settlement shall be effective 30 days after entry of this Final Approval Order

if no appeal is taken. If an appeal is taken in this matter, the effective date will be the day after

all appeals are finally resolved.   The Claims Administrator will disburse settlement checks to

Class Members, court-approved attorneys' fees and costs, and court-approved service awards

within three days of the time to appeal the Final Approval Order and Judgment has expired.

         23.   Without affecting the finality of this Final Approval Order and Judgment, the

Court retains jurisdiction over this case to administer, supervise, construe, and enforce the

Settlement Agreement in accordance with its terms for the mutual benefit of the parties. The

parties shall abide by all terms of the Settlement Agreement, which are incorporated herein and

hereby "so ordered," as well as this Final Approval Order and Judgment.




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        24.        The Parties having so agreed, good cause appearing, and there being no just

reason for delay, it is expressly directed that this Final Approval Order be, and hereby is, entered

as a final order and judgment of the Court.

        25.        This Final Approval Order resolves docket numbers 149, 151, and 153. The case

is dismissed with prejudice, and the Clerk is respectfully requested to close these motions and to

close this case.

        SO ORDERED.

Dated: New York, New York
       June 18, 2015

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